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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

 D. G. Sweigert,                                               PRO SE

                   -against-                            23-cv-05875-JGK-VF

 Jason Goodman,                                         Judge John G. Koeltl

                                                Related Case: 23-cv-06881-JGK-VF



                     PLAINTIFF’S REQUEST FOR JUDICIAL NOTICE
                             PURSUANT TO F.R.E. 201 (b)


The Defendant requests that this Court take notice of the attached information pursuant to

Federal Rules of Evidence (F.R.E.) Rule 201 (b)(1) – (2). This is a permanent restraining order

issued against Jason Goodman on behalf of Nina Jankowicz (described at para. 32, Amended

Complaint, Case 1:23-cv-05875-JGK-VF Document 13 Filed 09/23/23 Page 12 of 81).

Submitted June 30, 2024.




                                                          D. G. SWEIGERT, C/O, PMB 13339
                                                      514 Americas Way, Box Elder, SD 57719



                                CERTIFICATE OF SERVICE

A copy of this pleading has been sent via e-mail message to truth@crowdsourcethetruth.org , on

June 30, 2024 (6/30/2024). Signed June 29, 2024 (6/30/2024).



                            D. G. SWEIGERT PRO SE PLAINTIFF, C/O PMB 13339,
                           514 Americas Way, Box Elder, SD 57719




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